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IN THE UNITED STATES DISTRICT COUR'I`
FOR THE NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION
BODYGUARD PRODUCTIONS, lNC., )
) Case No.: lS-cv-0361
Plaintiff, )
) Judge Robert W. Gettleman
v. )
)
DoEs 1-26, )
)
Defendants. )

PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL OF DOE DEFENDANT NO. 8

Plaintiff, Bodyguard Productions, Inc., pursuant to Rule 4l(a)( l) ofthe Federal Rules of
Civil Procedure, hereby dismisses With prejudice all causes of action in the complaint against the
Doe Defendant associated with Intemet Protocol address 24.12.249.45 (Doe No. 8). Each party shall
bear its own attorney’s fees and costs. Plaintift`is not dismissing any other Doe defendants at this
time.

The respective Doe Defendant has not filed an answer to the complaint or a motion for
summary judgment in this matter. Therefore, it is respectfully submitted that dismissal under Rule
41 (a)(l) is appropriate

Rcspcctfully submitted,
Dated: September 7, 2018 BODYGUARD PRODUC'I`IONS, INC.

By: s/Michael A. Hierl
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CERTIFICATE OF SERVICE

The undersigned attorney hereby certifies that a true and correct copy of the foregoing
Notice of Voluntary Dismissal ofDoe Defendant No. 8 Was filed electronically with the Clerk of
the Couit and served on all counsel of record and interested parties via the CM/ECF System on
September 7, 2018.

S/Michael A. Hierl

 

